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AO 83 (Rev. 06/09) Summons in a Criminal Case


                                       UNITED STATES DISTRICT COURT
                                                                for the
                                                      District of
                                                  __________      Massachusetts
                                                               District of __________

                   United States of America                        )
                              v.                                   )
                     Dennis Pleites Ramos                          )
                                                                   )      Case No. 1:16-cr-10165-MLW-6
                                                                   )
                                                                   )
                              Defendant                            )

                                                SUMMONS IN A CRIMINAL CASE

        YOU ARE SUMMONED to appear before the United States district court at the time, date, and place set forth
below to answer to one or more offenses or violations based on the following document filed with the court:

u Indictment               u Superseding Indictment        u Information u Superseding Information                    u Complaint
u Probation Violation Petition            ✔ Supervised Release Violation Petition u Violation Notice
                                          u                                                                       u Order of Court

Place:     United States District Court                                         Courtroom No.: 16 before MJ Kelley
           One Courthouse Way
            Boston MA, 02210                                                    Date and Time: 01/25/2017 12:15 pm

          This offense is briefly described as follows:
Violation of pretrial supervised release conditions.




Date:              01/11/2017                                                           /s/ Kellyann Moore
                                                                                        Issuing officer’s signature

                                                                                            Deputy Clerk
                                                                                         Printed name and title



I declare under penalty of perjury that I have:

u Executed and returned this summons                           u Returned this summons unexecuted



Date:
                                                                                            Server’s signature



                                                                                         Printed name and title
